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                        UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

John Burke, et al.

v.                                           Case Number: 4:21−cv−02591

Ocwen Loan Servicing, LLC, et al.




                               NOTICE OF RESETTING

TAKE NOTICE THAT A PROCEEDING IN THIS CASE HAS BEEN RESET
FOR THE PLACE, DATE AND TIME SET FORTH BELOW.




Before the Honorable
Alfred H Bennett
PLACE:
Courtroom 8C
United States District Court
515 Rusk Ave
Houston, TX
DATE: 9/9/2022

TIME: 09:00 AM
TYPE OF PROCEEDING: Initial Conference


Date: August 6, 2022
                                                        Nathan Ochsner, Clerk
